
By the Court.*— Sutherland, P. J.
—I think the order of the general term affirming the judgment, and the judgment of affirmance entered thereon, were made and entered irregularly, and that the order of the special term, appealed from, setting aside the judgment of affirmance, should be affirmed.
The notice of argument for the February general term, 1860, was addressed to and served upon J. W. Culver, as the attorney for the defendant, Daniel F. Eddy, long after his death, and after the attorney for the appellant had been notified of his death.
At the time of the service of the notice, J. W. Culver could not act for a dead man, and he had no authority to act for or represent his estate.
The order of the general term for affirmance by default,founded on such notice, was therefore irregular, inasmuch as it was made without notice to any one representing the estate of Daniel F. Eddy.
His personal representative was a non-resident, and the action could not have been revived in his name; but the plaintiff, if he desired to prosecute the appeal after he received notice of the death of Eddy, and that his foreign administrator intended to abandon the appeal, could have had an administrator appointed here, and then he could have applied to have the action revived in the name of such domestic administrator. I see no other way in which he could regularly obtain a judgment of affirmance after the death of Eddy.
There is doubt, too, as the case was never served or filed, whether the general term ever got possession of the appeal so as to affirm, the judgment. The general term could of course dismiss the appeal for the non-service of the case, but whether they can affirm the judgment when a case has been made before the case has been either filed or served is, to say the least, doubtful. (Hunt a. Bloomer, 3 Kern., 341 ; Pope a. Dinsmore, 29 Barb., 367.)
But it is not necessary to- decide that question in this case. 1 think the order of the special term should be affirmed, with ten dollars costs, on the first point alone.
*31II. March, 1861.—The .administrator afterwards applied at special term, for leave to discontinue the appeal.
James W. Culver, for the administrator. —The notice of appeal is analogous to, or performs the office of, the allowance and filing of the writ of error. This proceeding, in either, case, removes the cause to the higher court. After the filing of the writ, errors were assigned, and next a writ of certiorari was allowed. The clerk of the inferior court then made his return, or certified all the proceedings before him. This’ brought up the alleged error, or errors (Graham's Pr., 2 ed., 95, Colden a. Knicklerbacker, 2 Cow., 31, 36), now instead- of the certiorari, the clerk makes his return, or certifies all the proceedings to the appellate court. Until this be done, the record or error is not before the appellate court. Until the return is made, the . record is not in the appellate court; and if the defendant dies before the return is made, the appeal abates, the same as the writ of error would in case of death before error assigned. (Graham’s Pr., 965 ; Miller a. Gunn, 7 How. Pr., 159.)
Ira O. Miller, for the plaintiff. —I. There is no authority for allowing the appellant to discontinue without paying the j udgment, after giving security to stay proceedings.
II. But it is objected that the plaintiff has no method of obtaining an affirmance, and therefore - the appeal may as well be dismissed. We can propose several methods not yet passed upon. 1. We can appeal from the general-term decision. 2, We can have an administrator appointed here, and make him a party to this action, and then proceed with the appeal, 3. The administrator appointed in another State has already appeared, by his attorney, without restriction, or limitation, and although objected to, has been allowed a standing in court, both at special and general terms. And a notice of motion, or a notice of bail, without restriction is a general appearance in the case for all purposes. (Quick a. Merrill, 3 Cai., 133 ; McKenster a. Van Zandt, 1 Wend., 13 ; Eames a. Sitts, 2 Hill, 362 ; Quin a. Tilton, 2 Duer, 648.) 4. But if the administrator has no standing in court, then he cannot make this motion, and it must be denied.
III. But it is alleged that the respondent should have revived *32the proceedings within a year. (Code, § 121.) We answer. 1. The Code expressly provides that no action shall abate by the death, &amp;c., of a party, and that although a motion or supplemental complaint must be made to continue in the name of a representative, yet this does not apply to a case on appeal. Such is the obvious intent, and such seems to be the construction of the Court of Appeals. (Hastings a. McKinley, 8 How. Pr., 175.) 2. By the old practice, if the plaintiff in error died after error assigned (which was analogous to making a case or exceptions), the writ of error did not abate, but the defendant must have joined in error and proceeded to have the judgment affirmed, if not erroneous. (Miller a. Gunn, 7 How. Pr., 159 ; 2 Graham's Pr., 965 ; Jaques a. Cesar, 2 Saund., 101, note o. ; Smith a. Broomhead, 7 East, 296.)
IY. The neglect to file the case finally, disposes of the case and exceptions, and leaves the party to argue the appeal on the exceptions only, but does not prevent the progress of the appeal. (Robinson a. Hudson River R. R. Co., 3 Abbotts' Pr., 115 ; Rankin a. Pine, 4 Ib., 309.)
By the Court.— Leonard, J. —The defendant is dead. He has executors or administrators appointed in another State; none here. There is no one in this State authorized to represent the deceased.
The executors or administrators, appointed in another State, can neither continue nor dismiss an appeal pending here.
If they choose to take out letters in Hew York they will be in a condition to take such action as they may desire. Any appellant can dismiss his own appeal, on payment qf costs, at pleasure.
The motion to discontinue herein will be granted on suitable application, when there is an authorized representative to move. At present the motion is denied, without prejudice to a renewed application when the representatives of the deceased shall have qualified in this State.*

 Present, Sutherland, P. J., Bogeboom and Bonnet, JJ


 Afterwards the public administrator in the county of New York was appointed administrator of the defendant, and obtained leave to discontinue the appeal, on payment of costs, as suggested in this opinion.

